
In re: Keith Ledet applying for writ of habeas corpus and other remedial writs.
Granted. See Order.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Cleveland J. Marcel, Sr., Judge of the Seventeenth, now 32nd Judicial District, Court for the Parish of Terrebonne, to transmit to the Supreme Court of Louisiana, on or before the 3rd day of December, 1973, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 21st day of January, 1974, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
